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       In The United States Court of Federal Claims
                                           No. 02-25L

                                      (Filed: April 9, 2010)
                                           __________
 JICARILLA APACHE NATION, formerly              *
 JICARILLA APACHE TRIBE,                        *
                                                *
                       Plaintiff,               *
                                                *
        v.                                      *
                                                *
 THE UNITED STATES,                             *
                                                *
                       Defendant.               *
                                                *
                                                *
                                                *
                                           _________

                                            ORDER
                                           __________

       Today, a status conference was held in this case. Participating in the conference were
Steven Gordon, for plaintiff, and Stephen Terrell, for defendant. Based on discussions during the
conference, the court set the following discovery schedule:

       1.     On or before December 15, 2010, all fact discovery shall be
              completed;

       2.     On or before February 11, 2011, plaintiff shall submit its expert
              report(s);

       3.     On or before March 25, 2011, defendant shall submit its expert
              report(s);

       4.     On or before April 29, 2011, plaintiff shall submit its rebuttal
              report(s) to defendant’s expert report(s);

       5.     On or before May 31, 2011, the parties shall complete expert
              depositions; and

       6.     On or before June 14, 2011, the parties shall file a joint status
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              report indicating how this case should proceed, with a proposed
              schedule for proceeding to trial.

      The parties anticipate that a portion of the production will be subject to a clawback
agreement. The court stands ready to issue an order necessary to effectuate that agreement.

       IT IS SO ORDERED.


                                                    s/ Francis M. Allegra
                                                    Francis M. Allegra
                                                    Judge
